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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MICHIGAN

 IN RE:                                       §
                                              §
 Erica E. & Gerald F. Brouse                  §      19-01650
                                              §      HON. Scott W. Dales
    Debtor(s)                                 §      Filed: 4/16/2019

                  APPLICATION FOR ADDITIONAL ATTORNEY FEES
                     AND/OR RECOVERY OF COSTS ADVANCED

Application is made by the undersigned for allowance of reasonable attorney fees and expenses of
$1211.36 to be paid from the monies paid in by or on behalf of the Debtor, under the provision of
Debtor’s Chapter 13 estate. Services rendered for the Debtor are as follows:

                                    See Attached Statements

Applicant has not shared or agreed to share such compensation (either paid or to be paid) with any
other person than employees of the law firm he is associated with. This is the Third application for
compensation and reimbursement of expenses. The total fees requested in this application are
$1182.50; the total costs advanced requested are $28.86. The fees requested and approved in this
matter to date are as follows:


   Fees Requested       Costs Requested           Fees Awarded        Costs Awarded             Date of Order

       3,650.00                0.00                 3,200.00                 0.00                10/23/2019
       1,988.50               47.50                 1,988.50                47.50                 3/21/2020
       1,184.00               31.90                 1,184.00                31.90                 2/23/2021

             Approved fees and expenses remain unpaid in the amount of $_0.00_.
       This application is not filed less than 120 days after prior application to the Court.

Wherefore, Applicant seeks approval of attorney fees and costs advanced in the amount of
$1211.36, and that the same be paid through the Plan by Debtors’ Chapter 13 Trustee.

Dated: 7/1/2021                                       /s/
                                                      Jeffrey D. Mapes (P70509)
                                                      Mapes Law Offices
                                                      Attorney for Debtor(s)
                                                      29 Pearl St NW Suite 305
                                                      Grand Rapids, MI 49503
                                                      (616) 719-3847
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                                     SUMMARY SHEET

 IN RE:                                     §
                                            §
 Erica E. & Gerald F. Brouse                §     19-01650
                                            §     HON. Scott W. Dales
    Debtor(s)                               §     Filed: 4/16/2019


Fees & Expenses Previously Requested:              $6901.90
Fees & Expenses Previously Awarded:                $6451.90



NAME OF APPLICANT:                   Mapes Law Offices
ROLE IN THIS CASE:                   Attorney for Debtor(s)

CURRENT APPLICATION:                 Fees Requested:     $1182.50
                                     Expenses Requested: $28.86

Fee Application
                            Hours           Per Hour            Total for
                            Billed          Rate                Application
Attorneys:

Jeffrey D. Mapes            1.30            $275.00*            $357.50
George J. George            2.50            $220.00             $550.00

Paraprofessionals:

Keaton F. Kolbe             2.10     $125.00              $262.50
Kendra L. Martin            0.10     $125.00              $12.50


TOTAL HOURS BILLED: 3.80
(Excluding Paraprofessionals)

*Jeffrey D. Mapes was approved to bill $275.00 per hour on 06/30/2019.
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                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MICHIGAN

 IN RE:                                        §
                                               §
 Erica E. & Gerald F. Brouse                   §      19-01650
                                               §      HON. Scott W. Dales
    Debtor(s)                                  §      Filed: 4/16/2019

         NOTICE TO CREDITORS AND OTHER PARTIES IN INTEREST OF
        APPLICATION FOR PROFESSIONAL FEES PURSUANT TO RULE 2016
                     AND NOTICE OF RIGHT TO OBJECT

Take Notice that the following professionals persons have submitted an application to the
Bankruptcy Court for the allowance of fees and expenses as listed below:
  Professional                                     Fees      Expenses         Fees Previously
                                                   Requested Requested        Allowed by Court
  Mapes Law Offices, 29 Pearl St. NW,              $1182.50 $28.86            $6451.90
  Ste. 305, Grand Rapids MI 49503

The fees requested will be paid pursuant to the terms of the confirmed Chapter 13 Plan. Approval
of the requested compensation is anticipated to have the following impact on unsecured creditors:

(x) Allowance of the fees will reduce the amount paid to general unsecured creditors.
(x) Allowance of the fees may delay payment to general unsecured creditors.
( ) Allowance of the fees should have no impact on the dividend to general unsecured creditors.
( ) Allowance of the fees will increase the plan length by ___ months, for a total of ___ months.
( ) Other: ____________________________________________________________________

NOTE: The application is available for public review at the Clerk’s Office, (One Division North,
Grand Rapids, MI 49503) or (202 West Washington Street, 3rd Floor, Marquette, MI 49855)
Monday - Friday from 8:00 a.m. to 4:00 p.m. No hearing will be set before the Court unless a
written objection to this application is timely filed with the Clerk of the Bankruptcy Court. If you
have an objection, you have twenty-one (21) days from the date of this notice in which to file such
written objection. In the event that an objection is filed, a subsequent notice will be sent to you of
the date, time and location of the hearing on the objection.
Any Objection must be timely filed with: U.S. Bankruptcy Court WDMI, One Division Ave. NW,
Rm. 200 Grand Rapids, MI 49503 A copy of any objection must also be served upon Jeffrey D.
Mapes PLC, 29 Pearl St. NW, Ste. 305, Grand Rapids MI 49503.

Date Notice Served: 7/1/2021           __/s/____________________________
                                       Jeffrey D. Mapes, Attorney for the Debtor(s)
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                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MICHIGAN

  IN RE:                                        §
                                                §
  Erica E. & Gerald F. Brouse                   §    19-01650
                                                §    HON. Scott W. Dales
     Debtor(s)                                  §    Filed: 4/16/2019

         ORDER APPROVING APPLICATION FOR ADDITIONAL ATTORNEY
               FEES AND/OR RECOVERY OF COSTS ADVANCED

                                 Present:       HON. Scott W. Dales
                                            Bankruptcy Judge

 This matter having come before the Court upon the Application for Additional Attorney Fees
 and/or Recovery of Costs Advanced, by Mapes Law Offices, Counsel for the Debtor(s); Notice to
 Creditors and Other Parties of Interest having been served upon all interested parties on or about
 7/1/2021; no written objections to said Notice having been filed, and the Court being otherwise
 fully advised in the premises from which entry of an order appears proper, THEREFORE,

 IT IS HEREBY ORDERED that the Application for Additional Attorney Fees and/or Recovery of
 Costs Advanced in this case be allowed in the amount of $1211.36. Fees requested and approved
 in this matter to date are as follows:


Fees Requested     Costs Requested           Fees Awarded      Costs Awarded         Date of Order

   3,650.00               0.00                 3,200.00                0.00            10/23/2019
   1,988.50              47.50                 1,988.50               47.50             3/21/2020
   1,184.00              31.90                 1,184.00               31.90             2/23/2021

 Leaving a balance of $1211.36 in additional fees to be paid by the Trustee through the Chapter 13
 Plan.

 IT IS FURTHER ORDERED that a copy of this Order shall be served upon Debtors: 886 Seminole
 Dr., Coldwater MI 49036; Chapter 13 Trustee, PO Box 51109, Kalamazoo MI, 49005; U.S.
 Trustee, 125 Ottawa NW, Suite 202R, Grand Rapids, MI 49503; and, Mapes Law Offices, Counsel
 for Debtor(s), 29 Pearl St NW, Suite 305, Grand Rapids MI 49503.


                                             END ORDER.
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                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MICHIGAN

 IN RE:                                        §
                                               §
 Erica E. & Gerald F. Brouse                   §     19-01650
                                               §     HON. Scott W. Dales
    Debtor(s)                                  §     Filed: 4/16/2019




                                 CERTIFICATE OF SERVICE

Document(s) Served:

   1. Application for Addition Attorney Fees and/or Recovery of Costs
              Advanced
   2. Itemized Statement
   3. Notice of & Opportunity to Object to Application for Additional Attorney
              Fees and/or Recovery of Costs
   4. Proposed Order Approving Application for Additional Attorney Fees and/or
              Recovery of Costs
   5. Certificate of Service

Person(s) Served:

   1. See attached Creditor Matrix

The undersigned certifies under penalty of perjury that he or she has on the date shown below, by
first class U.S. mail addressed to their respective address of record in this case, served a true copy
of the documents listed above on the parties listed above. Any parties not served have been
indicated by a large X across their address.

I declare that the statement above is true to the best of my information, knowledge and belief.

Dated: 7/1/2021                ____/s/______________
                                      Jeffrey D. Mapes
                                      Mapes Law Offices
                                      29 Pearl Street NW, Suite 305
                                      Grand Rapids, MI 49503
